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                                        UNITED STATES DISTRICT COURT
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                                      EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                               No. 1:08-cr-00124 – AWI - 4
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                           Plaintiff,                        ORDER REDUCING SENTENCE
11                                                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
              v.
12
     RODOLFO F. SUAREZ, JR.,
13
                           Defendant.
14
15            This matter came before the Court on the stipulated motion of the defendant for reduction

16 of sentence pursuant to 18 U.S.C. § 3582(c)(2). The defendant was convicted of conspiracy to
17 distribute methamphetamine and cocaine and conspiracy to possess methamphetamine and
18 cocaine with the intent to distribute in violation of 21 U.S.C. §§ 841 and 846. Doc. 423 at 1. On
19 those charges, the sentencing court sentenced defendant to a term of 121 months. The parties
20 agree and, as described below, the Court finds that Mr. Suarez is entitled to the benefit
21 Amendment 782.
22            The defendant was resentenced April 15, 2013, at the direction of the Ninth Circuit.1 The

23 sentencing court found the base offense level to be 38 pursuant to USSG § 2D1.1, as the quantity
24 of actual methamphetamine involved in the offense is approximately 2 kilograms. See U.S.S.G. §
25 2D1.1(c)(1) (2009). The sentencing court granted a minor-role reduction and a downward
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      The defendant had previously been sentenced to the twenty-year mandatory minimum applicable to a defendant
27   convicted of an offense pursuant to section 841 who had previously been convicted of a drug felony. See 18 U.S.C.
     841(b)(1)(A). The Ninth Circuit vacated that sentencing finding that the defendant’s prior guilty plea—apparently
28   allowing him to participate in a drug-rehabilitation / deferral program—never resulted in a judgment and, as a result,
     defendant had not previously been convicted of a drug felony. Doc. 402.

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 1 variation for a total offense level of 31. The defendant had a criminal history category of III. The
 2 guideline range was 121 to 151 months. The sentencing court sentenced the defendant to 121
 3 months, the low-end of the range.
 4         Under the amended guidelines, a base offense level of 36 applies where the quantity of
 5 actual methamphetamine is between 1.5 and 4.5 kilograms. U.S.S.G. § 2D1.1(c)(2) (2015).
 6 Applying the same enhancements and reductions, see U.S.S.G. 1B1.10(b)(1), with an amended
 7 total offense level of 28 and a criminal history category of III, the defendant’s amended guideline
 8 range is 108 to 135 months. However, the statutory mandatory minimum for this offense is 120
 9 months, see 21 U.S.C. §841(b)(1)(A), and the Court is not authorized in this instance to impose a
10 sentence below the mandatory minimum, see 18 U.S.C. 3553(e). The application of Amendment
11 782 results in a lower sentencing range.
12         This Court has considered the Section 3553(a) factors and, for the same reasons that the
13 sentencing court ordered a sentence at the low-end of the the Guideline Range at the defendant’s
14 sentencing on April 15, 2013, the Court finds that the Section 3553(a) factors support imposition
15 of the mandatory minimum sentence.
16         IT IS HEREBY ORDERED that, as to Count 1, the defendant’s term of imprisonment
17 imposed on April 15, 2013, is reduced to a term of 120 months. If this sentence is less than the
18 amount of time the defendant has already served as of the date of this order, the sentence is
19 reduced to a time served sentence.
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 1         IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
 2 remain in effect. The clerk shall forthwith prepare an AO247 form reflecting the above
 3 reduction in sentence, and shall serve certified copies of the AO247 on the United States Bureau
 4 of Prisons and the United States Probation Office.
 5         Unless otherwise ordered, Mr. Suarez shall report to the United States Probation Office
 6 within seventy-two hours after his release.
 7         The Clerk of the Court is respectfully directed to terminate this defendant and close the
 8 case.
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     IT IS SO ORDERED.
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11 Dated: June 2, 2016
                                                 SENIOR DISTRICT JUDGE
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